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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

OKSANA ZAFFARNO                                                                PLAINTIFF

v.                          CASE NO. 4:19-CV-00836-BSM

SADDLE PEAK, LLC                                                             DEFENDANT

                                          ORDER

       Pursuant to the parties’ joint stipulation of dismissal [Doc. No. 9], this case is

dismissed with prejudice, with each party bearing its own costs and the court retaining

jurisdiction for thirty days to enforce the settlement terms. Fed. R. Civ. P. 41(a)(1).

       IT IS SO ORDERED this 19th day of March, 2021.




                                                    UNITED STATES DISTRICT JUDGE
